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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

MIRDUH SPAHIJA,                             :
                                            :       CASE NO.: 1:22-cv-01986
              Plaintiff,                    :
       v.                                   :       JUDGE: Donald C. Nugent
                                            :
RAE-ANN HOLDINGS, INC., ET AL.              :
                                            :
       Defendants.                          :

                   MOTION TO DISMISS FILED BY INDIVIDUAL
                DEFENDANTS SUE GRIFFITHS AND JOHN GRIFFITHS

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants Sue Griffiths

(“Sue”) and John Griffiths (“John”) (jointly, “Defendants”) hereby move this Court to dismiss all

claims asserted against Sue and John in Plaintiff Mirduh Spahija’s (“Plaintiff”) Complaint (the

“Complaint”). As is more fully set out in the attached Memorandum in Support, this Motion seeks

to dismiss all claims against Sue and John in Plaintiff’s Complaint because individuals are

precluded from liability in employment discrimination actions. See 42 U.S.C. § 2000e; R.C.

4112.08(A). A brief Memorandum in Support is attached.


                                            Respectfully submitted,

                                            /s/ David A. Campbell
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                               MEMORANDUM IN SUPPORT

I.     INTRODUCTION

       Plaintiff is a former employee of Defendant Rae-Ann Holdings, Inc., aka and dba Rae-Ann

Skilled Nursing & Rehabilitation Centers (“Rae-Ann”). See Complaint ¶ 9. Plaintiff’s Complaint

asserts employment discrimination claims against (1) his former employer Rae; (2) Sue, an

individual and employee of Rae; and (3) John, an individual and employee of Rae. See Complaint,

¶¶ 2-4. This lawsuit was filed against Defendants because Plaintiff alleges he was terminated by

Defendants due to his religious beliefs. See Complaint, ¶ 12.

       The Complaint alleges three Counts of employment discrimination against individuals Sue

and John. See Complaint at Counts I-III. Sue and John are individuals. See Complaint, ¶¶ 3-4. It

is well established that Title VII and R.C. 4112.08 preclude individual liability in employment

discrimination actions. Accordingly, Plaintiff’s claims against Sue and John should be dismissed

as a matter of law. See Gibson v. Ind. State Pers. Dep't, Case No. 1:17-cv-01212-JPH-TAB, 2019

U.S. Dist. LEXIS 37480 *15 (March 8, 2019); Reeves v. P&E Logistics, Inc., S.D.Ohio No. 2:21-

cv-4167, 2022 U.S. Dist. LEXIS 54990, at *8-9 (Mar. 28, 2022).

II.    RELEVANT ALLEGATIONS OF THE COMPLAINT

       For purposes of this Motion, Defendants will assume Plaintiff’s factual allegations as true.

Defendants strongly deny Plaintiff’s claims and submit that discovery will firmly demonstrate that

Plaintiff’s discharge was based on legitimate, non-retaliatory reasons.

       Plaintiff was employed by Rae-Ann as a financial controller from April 21, 2021 – April

5, 2022. See Complaint ¶ 9. Plaintiff is Muslim. See Complaint, ¶ 13. The Complaint alleges that

Plaintiff first disclosed his religious beliefs to Defendants on April 4, 2022 upon requesting

accommodations for the month-long Muslim holiday of Ramadan. See Complaint, ¶ 14. Plaintiff



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alleges that he was terminated the following day due to his religious beliefs. See Complaint, ¶ 12.

The Complaint alleges three Counts of employment discrimination against (1) his former employer

Rae-Ann, and (2) Rae-Ann employees Sue and John individually. Complaint at Counts I-III.

III.   LAW AND ARGUMENT

       A.        Standard of Review.

       In reviewing a Rule 12(b)(6) motion to dismiss for failure to state a claim, a district court

must accept as true all well-pleaded allegations and draw all reasonable inferences in favor of the

non-moving party. Shoup v. Doyle, 974 F. Supp. 2d 1058, 1071 (S.D. Ohio 2013); Handy-Clay v.

City of Memphis, Tenn., 695 F.3d 531, 538 (6th Cir. 2012). A court need not, however, credit bald

assertions, legal conclusions, or unwarranted inferences. Kavanagh v. Zwilling, 578 F. App'x 24,

24 (2d Cir. 2014) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56, 127 S. Ct. 1955, 167

L. Ed. 2d 929 (2007)); see also Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed.

2d 868 (2009).

       To survive a motion to dismiss, a complaint must include "enough facts to state a claim to

relief that is plausible on its face," and not merely "conceivable." Twombly, 550 U.S. at 570. The

factual allegations must be sufficient "to raise a right to relief above the speculative level." Id. at

555. Although Rule 12(b)(6) does not impose a probability requirement at the pleading stage, a

plaintiff must present enough facts to raise a reasonable expectation that discovery will reveal

evidence of the necessary elements of a cause of action. Phillips v. County of Allegheny, 515 F.3d

224, 234 (3d Cir. 2008) (quotation marks omitted). Simply reciting the elements of a cause of

action does not suffice. Iqbal, 556 U.S. at 678.




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       In determining whether to grant a Rule 12(b)(6) motion, the Court may consider any

exhibits attached to the complaint or a motion to dismiss. Amini v. Oberlin College, 259 F.3d 493,

502 (6th Cir. 2001).

       B.      Plaintiff’s Claims Against Sue And John Fail As A Matter Of Law.

       Title VII and R.C. 4112.08(A) preclude liability against individuals in employment

discrimination actions.

       It is well-settled that Title VII claims cannot be asserted against individual defendants.

Gibson v. Ind. State Pers. Dep't, Case No. 1:17-cv-01212-JPH-TAB, 2019 U.S. Dist. LEXIS

37480 *15 (March 8, 2019) (“all individual defendants must be dismissed ‘because they do not

meet the definition of an 'employer’ under Title VII and the ADA”); Alam v. Miller Brewing Co.,

709 F.3d 662, 666 (7th Cir. 2013); Williams v. Banning, 72 F.3d 552, 555 (7th Cir. 1995); Sattar

v. Motorola, Inc., 138 F.3d 1164, 1168 (7th Cir. 1998); E.E.O.C. v. AIC Sec. Investigations, Ltd,

55 F.3d 1276, 1282 (7th Cir. 1995); Stanek v. St. Charles Cmty. Unit Sch. Dist. No. 303, 783 F.3d

634, 644 (7th Cir. 2015).

       Moreover, in pertinent part, R.C. 4112.08(A) states, “no person has a cause of action or

claim based on an unlawful discriminatory practice relating to employment … against a supervisor,

manager, or other employee of an employer.” The statute demonstrates the General Assembly’s

“intent that individual supervisors, managers, or employees not be held liable under Chapter 4112[]

of the Revised Code for unlawful discriminatory practices relating to employment.” 2019 Ohio

HB 352.

       Here, Plaintiff has asserted three Counts of discrimination against individuals Sue and

John. Complaint at Counts I-III. Sue and John are employees of Rae-Ann. See Complaint, ¶¶ 2-3.

Therefore, Plaintiff’s claims against Sue and John should be dismissed as a matter of law.



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IV.    CONCLUSION

       Based on the above-cited arguments and authorities, Defendants’ Motion must be granted

and Plaintiff’s claims against Sue and John dismissed as a matter of law.



                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 10th day of November, 2022, a true and accurate
copy of foregoing was served on the following counsel of record:

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